Case 4:20-cv-00973-SDJ Document 65 Filed 04/08/22 Page 1 of 3 PageID #: 1189




                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

YOUNG CONSERVATIVES OF                   §
TEXAS FOUNDATION                         §
                                         §
v.                                       §   CIVIL NO. 4:20-CV-973-SDJ
                                         §
THE UNIVERSITY OF NORTH                  §
TEXAS, ET AL.                            §

                               FINAL JUDGMENT

      This matter was before the Court on Plaintiff Young Conservatives of Texas

Foundation’s (“Young Conservatives”) motion for summary judgment, (Dkt. #6), and

the cross-motion for summary judgment filed by Defendants the University of North

Texas; the University of North Texas System; Neal Smatresk, in his official capacity

as the University’s president; and Shannon Goodman, in his official capacity as the

University’s Vice President for Enrollment, (Dkt. #52). Young Conservatives’

summary-judgment motion sought entry of a declaratory judgment and a permanent

injunction against Defendants. To the extent Young Conservatives sought summary

judgment against the University of North Texas and the University of North Texas

System, the Court denied Young Conservatives’ motion and granted summary

judgment in favor of the University of North Texas and the University of North Texas

System. (Dkt. #64). But the Court granted summary judgment in favor of Young

Conservatives on its preemption claim against Smatresk and Goodman. (Dkt. #64).

      It is therefore ORDERED, ADJUDGED, and DECREED as follows:

      1.    All claims asserted in this action against the University of North Texas

and the University of North Texas System are DISMISSED WITH PREJUDICE.


                                         1
Case 4:20-cv-00973-SDJ Document 65 Filed 04/08/22 Page 2 of 3 PageID #: 1190




      2.       The Court hereby DECLARES that Section 54.051(d) of the Texas

Education Code, as applied to United States citizens at the University of North Texas,

is preempted by Section 1623(a) of the Illegal Immigration Reform and Immigrant

Responsibility Act of 1996, 8 U.S.C. § 1623(a), and is thus in violation of the United

States Constitution. See 28 U.S.C. § 2201(a); FED. R. CIV. P. 57. Defendants Neal

Smatresk and Shannon Goodman are therefore immediately and permanently

ENJOINED from applying the tuition rates prescribed by Section 54.051(d) of the

Texas Education Code to United States citizens at the University of North Texas. See

FED. R. CIV. P. 65.

      3.       Neither Neal Smatresk nor Shannon Goodman, nor any officer, agent,

servant, employee, attorney, or other person in active concert with Neal Smatresk or

Shannon Goodman, may enforce the tuition rates prescribed by Section 54.051(d) of

the Texas Education Code against United States citizens at the University of North

Texas.

      4.       Nothing in this Final Judgment shall be construed to preclude Young

Conservatives from enforcing this Final Judgment in the event that Neal Smatresk

or Shannon Goodman fails to adhere to the orders contained herein. Young

Conservatives shall be authorized to seek compliance with the Final Judgment

through civil action in the United States District Court.

      5.       Each party shall bear its own costs, including attorney’s fees incurred in

this action.

      6.       All relief not expressly granted herein is DENIED.




                                            2
Case 4:20-cv-00973-SDJ Document 65 Filed 04/08/22 Page 3 of 3 PageID #: 1191




     7.    The Clerk is directed to CLOSE this civil case.

            So ORDERED and SIGNED this 8th day of April, 2022.




                                                     ____________________________________
                                                     SEAN D. JORDAN
                                                     UNITED STATES DISTRICT JUDGE




                                       3
